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                                    UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          LAREDO DIVISION



Juan Castillo                                        §
                                                     §
                       Plaintiff,                    §
                                                     §
                                                     §   Case No. 5:18-cv-00041
v.                                                   §
                                                     §
                                                     §
JLG Industries, Inc., Oshkosh Corporation and        §
Jorge Estrada                                        §
                                                     §
                                                     §
Defendants                                           §


                   PLAINTIFF’S MEMORANDUM IN SUPPORT OF
                       MOTION TO COMPEL DEPOSITIONS

        Plaintiff Juan Castillo asks the court to issue an order compelling the depositions

of Jorge Estrada, Juan Garcia and all the employees and other present the day the day

Juan Estrada was injured.

1. On February 15, 2019, Plaintiff requested via email the depositions of Jorge Estrada,

Juan Garcia and all the employees and others present the day the day Juan Estrada was

injured. Defendants ignored it without response. See Exhibit 1, attached. On March

28, 2019, Plaintiff again requested these depositions. Id. Again, there was no response.

2. On March 31, 2019, Plaintiff issued a notice of deposition for Jorge Estrada and Juan

Garcia to be taken on April 24, 2019 at 9 am and 1 pm respectively. See Exhibit 2.

Plaintiff was forced to unliterally issue the notice because defendants refused to provide

dates for the deposition. Defendants had not requested dates for any depositions.




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3. Defendants refused to produce their witnesses for depositions and have insisted that

that Plaintiff’s deposition must now be taken first, even though they had never asked

for it before.

4. Discovery may be obtained about any matter that is not privileged and that is both

relevant to any party’s claim or defense and proportional to the needs of the case. Fed.

R. Civ. P. 26(b)(1). These witnesses are necessary to designate experts and prepare for

trial. Discovery is ongoing.

5. Generally, the person noticing the deposition selects the time and place of the

deposition. Federal Rule of Civil Procedure 30(b)(1). Since the witnesses who are in

the custody and control of Defendant, justice requires that they be compelled to account

and be questioned on their knowledge of the underlying facts.

       For these reasons, Plaintiffs asks the Court to compel the depositions of Jorge

Estrada, Juan Garcia and all of the employees and other present the day the day Juan

Estrada was injured on a date and time certain in Laredo, Texas on date to occur before

the deposition of Plaintiff as Plaintiff have been seeking these depositions since

February 15, 2019. Plaintiff asks the court to grant further to relief to Plaintiff as justice

requires.




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                                      Respectfully submitted,

                                      BY: /s/ Ronald Rodriguez
                                      Ronald Rodriguez
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                                      Attorneys for Plaintiff


                          CERTIFICATE OF SERVICE

      The preceding document was served on counsel of record through the court’s

electronic document management system on this May 7, 2019.



                                              /s/ Ronald Rodriguez
                                              Ronald Rodriguez

                       CERTIFICATE OF CONFERENCE

      I certified that I conferred with defendants’ counsel to schedule the depositions

and resolve this matter without court intervention, but an agreement could not be

reached.

                                              /s/ Ronald Rodriguez
                                              Ronald Rodriguez




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                                    UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          LAREDO DIVISION



Juan Castillo                                         §
                                                      §
                       Plaintiff,                     §
                                                      §
                                                      §   Case No. 5:18-cv-00041
v.                                                    §
                                                      §
                                                      §
JLG Industries, Inc., Oshkosh Corporation and         §
Jorge Estrada                                         §
                                                      §
                                                      §
Defendants                                            §




                                                ORDER

        After considering Plaintiff’s Motion to Compel Depositions, Defendants’ Motion

the Court compel the depositions of Jorge Estrada, Juan Garcia and all the employees

and other present the day the day Juan Estrada was injured on a date and time certain in

Laredo, Texas on date to occur before the deposition of Plaintiff.

        So ordered.

        SIGNED on this ____ day of _______________, 2019.


                                                      _________________________
                                                      PRESIDING JUDGE




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